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5
6    Attorney for Defendant
     SHAKWUAN MAHAN
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9
10                   IN THE UNITED STATES DISTRICT COURT
11                 FOR THE EASTERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,       ) Case No. 2:14-CR-0084 JAM
                                     )
14        Plaintiff,                 )
                                     ) STIPULATION AND ORDER RE RELEASE
15                         vs.       ) (AMENDED)
                                     )
16   SHAKWUAN MAHAN,                 )
                                     )
17        Defendant.                 ) Judge: Hon. John A. Mendez
                                     )
18                                   )
                                     )
19
20
21        It is hereby stipulated and agreed between plaintiff,

22   United States of America, and defendant, Shakwuan Mahan, that

23   the Court may order Mr. Mahan released from custody by 8:30 a.m.

24   on Tuesday, so that he may appear out of custody for the

25   dispositional hearing scheduled for 9:15 a.m.

26        This agreement arises from the following.         The probation

27   office and Mr. Mahan have agreed to modify Mr. Mahan’s

28   supervised release to order him to reside for 120 days at the

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1    Residential Re-entry Center in Oakland, California, commencing
2    next Tuesday, March 13, 2018.      (The probation officer advises
3    that she will file a proposed modification order shortly.)       The
4    parties contemplate appearing that morning and will ask the
5    Court to reschedule the dispositional hearing for 120 days to
6    see how Mr. Mahan progresses.      The parties request an advance
7    release order because Mr. Mahan is able to arrange
8    transportation to the RRC after Court on Tuesday and will be
9    able to report during business hours rather than await an after-
10   hours release from the County Jail, which may complicate his
11   transportation.
12        This amended stipulation clarifies that Mr. Mahan is to be
13   released by the Marshal by 8:30 a.m. Tuesday – that is, that he
14   should be processed out of the jail, brought to the courthouse,
15   and then released to make his appearance out of custody.
16        All other conditions of supervised release shall remain in
17   effect.
18                                     Respectfully Submitted,
19                                     HEATHER E. WILLIAMS
                                       Federal Defender
20
21   Dated:    March 9, 2018           /s/ T. Zindel
                                       TIMOTHY ZINDEL
22                                     Assistant Federal Defender
                                       Attorney for SHAKWUAN MAHAN
23
24                                     McGREGOR SCOTT
                                       United States Attorney
25
26   Dated:    March 9, 2018           /s/ T. Zindel for Q. Hochhalter
                                       QUINN HOCHHALTER
27                                     Assistant U.S. Attorney
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1                                    O R D E R
2         Mr. Mahan is ordered released by 8:30 a.m. Tuesday, March
3    13, 2018.   As previously ordered, he shall appear before the
4
     Court that day at 9:15 a.m., out of custody, for further
5
     instructions.
6
          IT IS SO ORDERED.
7
8
     Dated:   March 9, 2018            /s/ John A. Mendez________________
9                                      HON. JOHN A. MENDEZ
                                       United States District Court Judge
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